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   8                            UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
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  11        ERIC A.,1                                      CASE NO. 2:23-cv-06797-DSF (MAR)
  12                            Plaintiff,
                                                           JUDGMENT
  13              v.
  14        MARTIN J. O’MALLEY, 2
            Commissioner of Social Security,
  15
                                Defendant.
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                 It is the judgment of this Court that the final decision of the Commissioner of
  18
        the Social Security Administration is REVERSED, and the action is REMANDED
  19
        for further proceedings consistent with the Report and Recommendation.
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        DATED: June 07, 2024
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                                             ________________________________
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                                             HONORABLE DALE S. FISCHER
  23                                         United States District Judge
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  25     Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and the
        recommendation of the Committee on Court Administration and Case Management of the Judicial
  26    Conference of the United States.

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          Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Martin J. O’Malley, the newly
        appointed Commissioner of the Social Security Administration, is hereby substituted as the Defendant
  28    herein.
